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Appendix 2E

Distribution of Cases
by
COSTART Body System
of Assigned Primary Term
for
Gabapentin (Cl-0945)

01 February 2000 to 31 July 2000

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Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 2 of 23

 

Distribution of Cases by COSTART Body System for
Gabapentin (CI-0945), 01 February 2000 to 31 July 2000

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Body as a Whole

 

 

 

Cardiovascular System

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Skin and Appendages

 

 

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Percentages (other than last row) are per column (hence in the first row, 15% of the total number of
serious cases were listed under body as whole). In the third row, percentages are of the total number
of cases (502; overall, 16% of all cases were listed under body as whole). Percentages may not sum
to 100% due to rounding of numbers. * numbers are inflated by 2 cases which were entered in the
database with the most medically significant adverse event was in drug usage but where seriousness
was assessed as “not applicable”

 

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Pfizer_MPatel_0073689
Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 3 of 23

 

Appendix 2F

Distribution of Adverse Events
by
COSTART Body System
for
Gabapentin (CI-0945)

01 February 2000 to 31 July 2000

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Distribution of Adverse Events by COSTART Body System
for Gabapentin (CI-0945), 01 February 2000 to 31 July 2000

 

Unlabeled Adverse Events| Labeled Adverse Events a

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Urogenital System,

 

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Percentages (other than last row) are per column (hence, in the first row, 17% of the total number of
unlabeled cases were cited under body as whole and overall, 17% of all cases were cited under body as
whole). In the last row, percentages are of the total number of cases (919). Percentages may nol sum
to 100% due to rounding of numbers.

Pfizer_MPatel_ 0073691
Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 5 of 23

 

Appendix 2G

Summary Tabulation of
Adverse Events
Reported by Health Care Professionals
for Gabapentin (CI-0945)
01 February 2000 to 31 July 2000

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Summary Tabulation for Gabapentin PSUR
September 2000 - Page 1

Summary Tabulation of Adverse Events for Gabapentin (Cl-0945)
Period 01 February 2000 to 31 July 2000

Abdomen

Abdominal Pain

Abscess

Accidental

Accidental Overdose

Reaction

Reaction

Asthenia

Back Pain

Birth Subnormal

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Death
Interaction
Level Decreased
Face Edema
Fever
Flu
Generalized Edema
Headache
Hormone Level Altered

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Infection
Intentional Overdose
Lab Test Abnormal
Lack Of Effect
Malaise
Anomalies

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Overdose
Pain
Perinatal Disorder
Reaction

Reaction Unevaluable
Sarcoma
Suicide

Total for as a Whole

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Arteriosclerosis

Cardiovascular Disorder

 

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Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 7 of 23

 

Summary Tabulation for Gabapentin PSUR
September 2000 - Page 2

Cerebral

Cerebral Ischemia

Cerebrovascular Accident
Heart Failure

Heart Arrest

Heart Malformation

Infarct
Pericarditis

T
Vascular Disorder
Vasculitis
Vasodilatation

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Abnormal Stools
Anorexia
Cholelithiasis
Cholestatic Jaundice
Colitis

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Diarrhea
Mouth
Duodenal Ulcer

Fecal |
Flatulence
GGT Increased

Gum
Gum

Increased

Jaundice

Liver Function Tests Abnormal
Melena

Mouth Ulceration

Nausea

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Summary Tabulation for Gabapentin PSUR
September 2000 - Page 3

Nausea And

Oral Moniliasis
Pancreatitis

Rectal Disorder
Rectal

Stomach Ulcer
Stomatitis

T Edema
Tooth Caries

Tooth Discoloration
Tooth Disorder
Ulcerative Stomatitis

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Diabetes Mellitus
GFSH Increased

Prolactin Increased
Total For Endocrine

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Anemia
Disorder
Time Decreased

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Prothrombin Decreased
Prothrombin Increased

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Total for Hemic

Alkaline Increased
Creatinine Increased

 

Pfizer_MPatel_ 0073695
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Summary Tabulation for Gabapentin PSUR
September 2000 - Page 4

Edema
Abnormal

NPN Increased

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Edema
SGOT Increased
SGPT Increased
Total for Metabolism & Nutrition:

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Arthritis
Arthrosis
Bone Disorder
Joint Disorder

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Total for Musculoskeletal System:

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Abnormal Dreams
Abnormal Gait

Akathisia
Amnesia
Antisocial Reaction

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Ataxia
Choreoathetosis
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Confusion
Convulsion
Delirium

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Summary Tabulation for Gabapentin PSUR
September 2000 - Page 5

Emotional

Hallucinations

Incoordination
Insomnia

Libido Decreased
Manic Reaction
Movement Disorder

Nervousness
Paresthesia

Neuritis
Disorder

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Disorder
Somnolence
Disorder
Abnormal

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Asthma
Bronchitis

Edema

Fibrosis

Pneumonia
Disorder

 

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Rhinitis

Pfizer_MPatel_0073697
Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 11 of 23

 

Summary Tabulation for Gabapentin PSUR
September 2000 - Page 6

Sinusitis
Total for

Oo

Acne

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Contact Dermatitis
Skin

Eczema

Exfoliative Dermatitis

Zoster
Rash

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Nail Disorder
Pruritus
Psoriasis

Rash
Pustular Rash
Rash
Skin Discoloration
Skin Disorder

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Urticaria
Vesiculobullous Rash
Total Skin &

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Abnormal Vision

Cataract
Color Blindness

Corneal Lesion
Deafness

Ear Pain
Disorder

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Lacrimation Disorder

Otitis Media
Refraction Disorder
Retinal Disorder
Retinal

Retrobulbar Neuritis

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Pfizer_MPatel_ 0073698
Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 12 of 23

 

Summary Tabulation for Gabapentin PSUR
September 2000 - Page 7

Taste Loss
Tinnitus
Visual Field Defect
Vitreous Disorder
Total For Senses :

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Abortion
Albuminuria
Amenorrhea
Breast Abscess

Hematuria

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Lactation Decreased
Menstrual Disorder

Ovarian Disorder
Stillbirth

Testis Disorder
Urethral Pain

Incontinence
Retention
Tract Disorder
Tract Infection

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Total for Urogenital :

 

Pfizer_MPatel_0073699
Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 13 of 23

 

Appendix 2H

Cumulative Adverse Event
Number & Ratio Data
across
Six Time Periods

for
Gabapentin (CI-—0945)

01 January 1996 to 31 January 2000

All Adverse Events

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Insert Table

Pfizer_MPatel_ 0073701
Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 15 of 23

 

Appendix 2I

Cumulative Number & Ratio Data
for
Serious Unlabeled Events

Across all PSUR Periods

for
Gabapentin (CI-—0945)

01 January 1996 to 31 January 2000

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Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 16 of 23

 

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Pfizer_MPatel_0073703
Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 17 of 23

 

Appendix 2J

Cumulative Number & Ratio Data
for
NonSerious Unlabeled Events
Across all PSUR Periods

for
Gabapentin (CI-—0945)

01 January 1996 to 31 January 2000

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Pfizer_MPatel_0073705
Case 1:04-cv-10981-PBS Document 1175-53 Filed 03/14/08 Page 19 of 23

 

Appendix 3

Ongoing & Completed
Clinical Studies
for Gabapentin (CIl-0945)
01 February 2000 to 31 July 2000

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Ongoing and Completed Gabapentin Studies

October 2000 PSUR

Gabapentin Studies with Ongoing Status during Current Period, 01 February - 31July 2000

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945-271

Post-Operative and posttraumatic pain study.
gabapentin vs. placebo in patients with neuropathic
Pain.

Sweden

 

945-436-288

Multicenter, open-label pragmatic study in.two.group |
of patients (first line or switch-over treatment)
intended to optimize. the use of Neurontin in
monotherapy in order to achieve the objective of 0
seizure in patients presenting with partial:epilepsy.

France

 

945-301

Open-label safety study of gabapentin as adjunct
therapy in children aged 1 month to 4 years, with
seizures uncontrolled by current anticonvulsant
drugs.

Canada

 

945-401

Open-label, safety study of gabapentin as adjunct
therapy in children aged.1 month through 4 years wil)
seizures uncontrolled by current anticonvulsant
drugs.

International: Brazil,
Belgium, Hungary,
Italy; Mexico, South
Africa, Spain, UK

 

945-411

A randomized, open-label trial to determine the
relative efficacy and safety of a fixed dose of
gabapentin versus optional titration to effect for the
treatment of painful diabetic peripheral neuropathy.

Chile, Venezuela

 

945-420-276
945-420-009

Double-blind; placebo: controlled, randomized;
multicenter study on the efficacy and safety of
gabapentin as adjuvant analgesic in neuropathic pai
in-patients with. malignancies.

Italy

 

 

 

945-468-001

Gabapentin in the control of refractory epilepsy.

 

 

Taiwan

 

Pfizer_MPatel_0073707
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Ongoing and Completed Gabapentin Studies
October 2000 PSUR

Gabapentin Studies with Completed Status or Research Report Published during

Current PSUR Period, 01 February 2000 to 31 July 2000

 

 

 

 

 

 

 

 

 

 

 

 

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945-092 Gabapentin monotherapy trial: A 36-week, double-blind, | Europe, New
parallel-group, multicenter, comparative study of the Zealand, South
efficacy and safety of gabapentin versus carbamazepine | Africa, Israel
in patients with partial epilepsy.
Research Reports: RR 720-04229, RR 720-04330
945-224 A double-blind placebo-controlled trial with 3: doses: of International
gabapentin for treatment of painful diabetic peripheral
neuropathy: Research Reports: RR: 720-04130
945-286 A monocenter, open study evaluating the effects of France
under nutrition on CYP 1A2 hepatic activity in elderly;
Summary in English in progress.
945-095 An extended open-label gabapentin (Cl-945) pediatric US
monotherapy. Trail following a double-blind study Canada
(Protocol 945-094) in pediatric patients with benign
childhood epilepsy with centrotemporal spikes (BECTS)
Research Reports: RR: 720-04362
945-212 Neurontin vs Lamotrigine: A double-blind, monotherapy, UK, Australia,
parallel-group, multicenter, comparative study in patients | Austria, Belgium,
with partial and/or generalized tonic-clonic seizures France, Germany,
Research Reports: RR 720-04422 lreland, Spain,
Switzerland
945-213 Case report from tabulations for gabapentin US
monotherapy trial: A-4-month, double-blind, dose- Canada
controlled, parallel-group, multicenter study to determine
the efficacy and’safety.of gabapentin in Newly diagnose J
patients with partial. epilepsy.
Research:Reports: RR*720-04233, RR 720-04234
945-423-030 | Neurontin monotherapy in newly diagnosed partial Germany
1-08 epilepsy (post-marketing study) Data analysis
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945-225 A comparison of gabapentin BID vs TID dosing regime: International
Open-label; randomized, parallel-group, 6-week add-on Data: analysis
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seizures.

 

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Ongoing and Completed Gabapentin Studies
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Gabapentin Studies with Completed Status or Research Report Published during
Current PSUR Period, 01 February 2000 to 31 July 2000

 

 

 

 

 

 

 

 

 

945-305 Gabapentin pediatric add-on trial: A randomized, double- | Canada
blind, placebo-controlled, parallel group multicenter study
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945-418-301 | Belgian open label study of titration to effect and profile Belgium
safety with:Neurontin in patients with partial seizure with’ | Data-analysis
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945-430-306 | A double-blind placebo-controlled trial of gabapentin for UK
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945-420-007 | Multicenter, national study, randomized, 52 weeks Italy
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945-420-00:. | patients with postherpetic neuralgia(PHN) and effect of Data analysis
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945-405 Gabapentin pediatric add-on trail: A randomized double- | International: Brazil,
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